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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERJCA, )

)
v. ) Case No.: I:lS-cr-218 (TSC)

)

MARIIA BUT[NA, a/k/a ) F I L E D

MARIA BUTINA, ) SEP 1 0 2018
) .

Defendant. ) Clerk, U_S. D:stnc: 5 Bankruptcy
) Courts let me Dlstm:t of Co|umbia
NOTICE OF FILING

Defendant Maria Butina, by counsel, hereby respectfully submits for the record three video
files (in .mp4 format that are stored on the SanDisk flash drive accompanied herewith) in support of
her Motion for Bond Review. (Doc. 23.) The videos depict Maria Butina and her boyfriend Paul
Erickson singing a song together and her parents and grandmother conveying birthday wishes by video
gram. In the interests of judicial economy and efficiency the videos are provided for the Court’s review
in advance of the in-court bond review proceedings scheduled before this Court on September 10, 2018
at 2:00 p.m.

Dated: September 10, 2018 Respectfully submitted,

fs/Robert N. Driscoll

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CERT[FICATE OF SERVICE
Ihereby certify that the foregoing Notice of Filing was filed in this case with the Clerk of the
Court, and that I served a copy of the same, together `with the three electronic video files referenced
therein, on this 10th day of September, 2018 to all registered counsel of record for the government by
electronic mail at:

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